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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JON R. MORGAN, on behalf of himself and all
 others similarly situated,                               Case No. 1:19-cv-07325-AJN

                        Plaintiffs,
                                                          AFFIRMATION OF SERVICE
                      -against-

  S. SENSE COMPANY, INC.

                        Defendant.



         I, Jonathan Shalom, declare under penalty of perjury that on October 11, 2019, I served a

copy of the Court’s October 1, 2019 Order upon Defendant, S. SENSE COMPANY, INC., via

overnight courier, at its last known business address of: 333 Chabanel O #900, Montreal, Quebec

H2N 2G1, Canada.


Dated:     October 11, 2019
                                                     /s/ Jonathan Shalom
                                                     Jonathan Shalom, Esq.
                                                     SHALOM LAW, PLLC
                                                     124-04 Metropolitan Avenue
                                                     Kew Gardens, NY 11415
                                                     Email: jshalom@jonathanshalomlaw.com
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